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Tax Return Transcript XXX-XX-XXXX 1040 201612 AMEE                                                             Page 1   of7



    -*'
    $Am     Internal Revenue Senrice
              United States Department of the Treasury
                                     This Product Contains Sensitive Taxpayer Data


                                            Tax Return Transcript
                                                                               Request Date:         A5-02-2018
                                                                              Response Date:         05-02-20t8
                                                                            Tracking Number:       1003864 69316


   SSN   Provided:       3
   Tax Period Ending: Dec. 31, 2016

   The following items reflect the amount as shown on the return (PR), and the amount as adjusted (PC),   if
   applicable. They do not show subsequent activity on the account.

   SSN:                         3
   SPoUSE   SSN:                B
   NAME(S)   SHOWN   ON RETURN: OMER AMtrEN & KHANSAA SABRI

   ADDRESS,                     :i                  r_   4o6a_ssj

   EILING STATUS:         Married Filing Joint
   trORM NUMBER:                           1040
   CYCLE POSTED:                       24L11702
   RECtrIVED DATtr:               Apr.15, 2017
   REMITTANCE:                            $0. 00
   EXEMPTION NUMBER:                           5
   DEPtrNDtrNT 1 NAME CTRL:
   DtrPENDENT 1 SSN:
   DEPENDtrNT 2 NAMtr CTRL:
   DEPENDENT 2 SSN:.
   DEPENDENT 3 NAMtr CTRL:
   DEPtrNDtrNT 3 SSN:
   DEPENDENT 4 NAME CTRL:
   DEPENDENT 4 SSN:
   PTIN:
   PREPARER EIN:



   Income
   WAGES, SALARItrS, TIPS, ETC:
   TAXABLtr INTERtrST INCOME: SCH     B:
   TAX-EXtrMPT INTEREST:
   ORDINARY DIVIDEND INCOME: SCH       B:
   QUALIFIED DIVIDENDS:
   REEUNDS OE STATE/LOCAL T;\XtrS:
   ALIMONY   RECEIVED:


                                                                                                                 512120r8


                                                                                          EXHIBIT 30 1
              Case 2:18-mj-00152-EFB Document 142-16 Filed 05/14/19 Page 2 of 12
Tax Return Transcript XXX-XX-XXXX 1040 201712 AMEE                                                             Page   I of7



    $flffi
    w-       Internal Revenue Service
               Llnited States Deparlmer-rt of the Treasuti,r
                                      This Product Contains Sensitive Taxpayer Data


                                            Tax Return Transcript
                                                                               Request Date:         05-02-2018
                                                                              Response Date:         05-02-2078
                                                                            Tracking   Number:     100386469376


   SSN    Provided:      3
   Tax Period Ending: Dec. 3L, 2011

   The following items reflect the amount as shown on the return (PR), and the amount as adjusted (PC),   if
   applicable. They do not show subsequent activity on the account.

   SSN:                          3
   SPOUSE SSN:                   84
   NAME(S)    SHOWN ON RETURN: OMAR AMEEN        & KHANSAA SABRI
   ADDRESS:
                                                               -991

   FILING STATUS:              Married Filing Joint
   EORM NUMBER:                                     1040
   CYCLE POSTED:                             2   01810 03
   RECEIVED DATE:                        Apr.15,    2018
   REMITTANCE:                                     $0.00
   EXEMPTION NUMBER:                                    6

   DEPENDENT    1 NAME CTRL:
   DEPENDENT    1 SSN:
   DEPENDENT    2 NAME CTRL:
   DEPENDENT    2 SSN:
   DEPENDENT    3 NAME CTRL:
   DEPENDENT    3 SSN:
   DEPENDENT    4 NAME CTRL:
   DEPENDENT    4 SSN:
   PTIN:
   PREPARER   EIN:


   Income
   WAGES, SALARIES,    TIPS,   ETC:
   TAXABLE INTEREST INCOME: SCH B:
   TAX_EXEMPT INTEREST:
   ORD]NARY DIVIDEND INCOME: SCH B:
   QUAL]F]ED DIVTDENDS:
   REFUNDS oE STATE/LoCAL TAXES:
   ALIMONY RECEIVED:




                                                                                                                 s12l20t8

                                                                                            EXHIBIT 30 2
      Case 2:18-mj-00152-EFB Document 142-16 Filed 05/14/19 Page 3 of 12




         Uber
                                                                                                                                                     1495 Market St


                                                                                                                                             San Fr.naisco. CA 94103


                                                                                                                                     Uber Tax IO Number: 45"?547447




Omar Ameen
Tax Summary for 20L8

Thanks for driving with Uber in 2018. Below is a breakdown of your earnings over the year that may help you f ile your taxes.




     Driving          Totals                                                    422                                              6,532.68
    Online l,liies shours a i of the miles you drove whiie            onl!.e   COMPLETED IRIpS                                   ONLINE M]LES
    includlna off tri0 rniies.




 Your Cross Earnings                                              Expenses, Fees and Tax                             Your Net Payout
 Total Trip Earnings from Uber plus dny other                     Exoenses, Fees and Tax- For a complete             ilot for tax riling purp6es. Thi i amount .epresents
 additional earnings                                              breakdown. please refer to tabie 1 on page 2       what was paid in your bank account.



  Cross Trip Earnings                            . $9,841.00       Expenses, Fees a;rC Tax             .   $3,283.39 Net Earnings                               $6,583.01

 Total Additional Earnings                          + $25.40



                                         $9,866.40                                               $3,283.39                                         = $6,583.01




This is not an official tax document. uber does not offer any tax advice.

Check with a tax professional or go to t.uber.com/tax for more lnformation.




                                                                                                                                                  EXHIBIT 30 3
                                   Case 2:18-mj-00152-EFB Document 142-16 Filed 05/14/19 Page 4 of 12
"9!i~---- - - -- -- - - --;----- - - - -- - -- - - - - - - - - - - - - --""""""

\1~4j                   E
                        0     1040
                                                                                   I~
                                                    Department of the Treasury-In ernal Revenue Service
                                                    U.S. Individual Income Tax Return
                                                                                                                      (99)   12 o151            OMBNo. 1545-0074
                                                                                                                                                                      I
                                                                                                                                                                       IRSUseOnly-Donotwriteorstapleinthisspace
                        u..
                   For the year   Jan. 1-Dec. 31 , 2015, or other tax year beginning                                              , ending                                      See separate instructions.




 i'
                   Your first name and initial

                   Omar
                   If a joint return, spouse's first name and initial
                                                                                                 Last name
                                                                                                !Ameen
                                                                                                 Last name
                                                                                                 Sabri
                                                                                                                                                                               Your social security number
                                                                                                                                                                                       3
                                                                                                                                                                                Spouse's social security number
                                                                                                                                                                                       8
  Iii              Khansaa
                   Home address (number and street). If you have a P.O. box, see instructions.
                                                                                                                                                       ·1 Apl;6

                                                                               you have a foreign address, also complete spaces below (see instructions).
                                                                                                                                                                                 .... Make sure the SSN(s) above


                                                                                                                                                                             Presidential Election Campaign

                   Sacramento, CA 95821-4060                                                                                                                              Check here if you, or your spouse ~ filing

                   Foreign country name                                                                IForeign province/state/county              I
                                                                                                                                                   Foreign postal code
                                                                                                                                                                          jointly, want $3 to go to this fund. Checking
                                                                                                                                                                          a box below will not change your tax or

   t                                                                                                                                                                                         D       D
  l
                                                                                                                                                                          refund.
                                                                                                                                                                                             You           Spouse
                                                     1      D      Single                                                               4   D   Head of household (with qualifying person). (See 1nstrucllons.) If
                   Filing Status                     2      IX]    Married filing jointly (even if onfy one had income)                         the qualifying person is a child but not your dependent, enter this

   1'.                                               3      D      Married filing separately. Enter spouse's SSN above                           child's name here.   •- - - -- - - - -- - - - -
                   ~:tk onfy one                                   and full name here.     •                                            5   D   Qualifying widow(er) with dependent child

    i1l ·          Exemptions                        6:       ~      ;   o~:~~- '.f   ~o~~.n~ c-a~ c.'a'.m. y~u- a~ ~ de~e~d-e~t,. d~ ~~t ~h-~k .b~x .6~                  . • • • }          :~:\cnhde~~ed
                                                                                                                                                                                                                  2
   J;!                                                   c    Dependents:
                                                                                                                       (2) Dependent's           (3) Dependent's
                                                                                                                                                                          (4) X if child
                                                                                                                                                                           underage 17
                                                                                                                                                                                             No. of children
                                                                                                                                                                                             on 6c who:
                                                                                                                    social security number      relationship to you       qualifying for     • lived with you    3
    l1•·                                                                                                                                                                  child tax credit   • did not live with--
     1                                           (1) First name                  Last name                                                                                  (see instr.)
                                                                                                                                                                                             you due to divorce
      ,l,          If more than four                                                                                                                                                         or separation       0
        t          dependents, see
                   instructions and
                                                                                                                                                                                             (see instructions) - -

        .~1        check here       •D                                                                                                                  hter                                 Dependents on 6c 0
        j{                                                                                                                                                                      •
                                                                                                                                                                                             not entered above _ _

                                                                                                                                                                                             Add numbers on
        f                                               d     Total number of exem tions claimed . . . . . .                                                                                 lines above     •     5
        J1                                           7            Wages , salaries, tips , etc . Attach Form(s) W-2 .                                                                   7               5 981.
                                                     Sa           Taxable interest. Attach Schedule B if required
        ·it, ::,:::(,)                                  b         Tax-exempt interest. Do not include on line 8a                              Sb


        .    W-2 here. Also
         , attach Forms
                                                     9a
                                                        b
                                                                  Ordinary dividends . Attach Schedule B if required.
                                                                  Qualified dividends . . . . . . . . . . . . . . .                           9b


        I
             W-2G and
           i 1099-R if tax                         10             Taxable refunds, cred its , or offsets of state and local income taxes .                                             10
         · : was withheld.                         11             Alimony received . . . . . . . . . . . . . . . . . . . . . . . . .                                                   11
            r                                      12             Business income or (loss). Attach S chedule C or C-EZ . . . . . . .                                                  12               2 124.
         }_ If you did not
            t
            get a W -2,
        ·i1see instructions .
                                                   13
                                                   14
                                                                  Capital gain or (loss). Attach Schedule D if required . If not requ ired , check here.
                                                                  Other gains or (losses). Attach Form 4797 . . . . . . . .             . . . . . . . . .
                                                                                                                                                                       ••              13
                                                                                                                                                                                       14
            i1
            ,:                                     15a            IRA distributions . . . . ·     I15a I                            Ib       Taxable amount .                         15b
             1'
                                                   16a            Pensions and annuities . .        16a                                 b Taxable amount .                            16b
            t;                                     17
                                                   18
                                                                  Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E
                                                                  Farm income or (loss). Attach Schedule F                              . .. . . ... .
                                                                                                                                                                                       17
                                                                                                                                                                                       18

            t
            1j
                                                   19
                                                   20a
                                                                  Unemployment compensation . . .
                                                                  Social security benefits . . l~2_o_a_l~------~ b Taxable amount
                                                                                                                                                                                       19
                                                                                                                                                                                      20b
            \1'l                                   21
                                                   22
                                                                  Other income. List type and amount
                                                                  Combine the amounts in the far ri ht column for lines 7 throu h 21. This is our total income                                          8 105.
             b
             lf\djusted
                                                   23
                                                   24
                                                                  Educator expenses . . . . . . . . . . . . . . . . . . . . . 1-'2-'3-+---------+
                                                                  Certain business expenses of reservists , perform ing artists, and
                tpross                                            fee-basis government officials . Attach Form 2106 or 2106-EZ                24
                {Income                            25             Health savings account deduction. Attach Form 8889 . . . .                  25
                ,~J                                26             Moving expenses . Attach Form 3903          .. . . . . . ... .              26
                   ,j                              27             Deductible part of self-employment tax. Attach Schedule SE .                27
                   i                               28             Self-employed SEP, S IMPLE, and qualified plans .                           28
                    -1
                  ,'.J
                                                   29             Self-employed health insurance deduction                                    29
                     "!
                                                   30             Penalty on early withdrawal of savings                                      30
                                                   31a            Alimony paid     b Recipient's SSN       • ________ ,__3_1a-+---------
                                                   32             IRA deduction . . . . . . . . . .                                           32
                                                   33             Student loan interest deduction . •                                         33
                                                   34             Tuition and fees. Attach Form 8917                                          34
                                                   35             Domestic production activities deduction. Attach Form 8903 .                35
                                                   36             Add lines 23 through 35 . . . . . . . . . . . . . . . . . .                                                                             150.
                                                   37             Subtract line 36 from line 22. This is our ad·usted         ross income                                                               7 955.
                     · r Disclosure, Privacy Act, and Paperworic Reduction Act Notice, see separate instructions.                                                                                Form   1040     (2015)
                     efA

                                                                                                                                                                                                   OA 000085

                                                                                                                                                                                  EXHIBIT 30 4
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                                                                     EXHIBIT 31
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                                                         EXHIBIT 32 1
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                                                         EXHIBIT 32 2
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                                                         EXHIBIT 32 3
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                                                         EXHIBIT 32 4
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                                                           EXHIBIT 33
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                                                           EXHIBIT 33
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                                                         EXHIBIT 33.1
